                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION

UNITED STATES OF AMERICA,                    )
                Plaintiff,                   )
                                             )      DOCKET NO. 5:10-CR-02-RLV
       v.                                    )
                                             )
TAMATHA M. HILTON (1),                       )
JIMMY EARL HILTON, JR. (2),                  )
JACQUELINE H. HILTON (3),                    )
                 Defendants.                 )
                                             )


            ORDER GRANTING MOTION FOR SUBPOENA DUCES TECUM
                    REQUIRING PRE-TRIAL PRODUCTION

       THIS MATTER is before the Court on the Government’s Motion for Subpoena Duces

Tecum Requiring Pre-Trial Production (Document #50).

       WHEREFORE, the Court finds that for the reasons set forth in the Government’s Motion,

the documents sought are relevant, admissible, and specific for purposes of issuance of a Fed. R.

Crim. P. 17(c) subpoena requiring pre-trial production.

       THEREFORE, THIS COURT ORDERS the Government to, as soon as practicable, serve

upon the custodian of records for Affordable Products LLC a subpoena requiring production to the

Government of the documents set forth in the Government’s Motion. In addition, this Court

ORDERS Affordable Products LLC to produce to the Government any documents responsive to

the subpoena on or before July 12, 2010.




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  SO ORDERED.


                                 Signed: July 1, 2010




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